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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


RYAN PFLIPSEN,                                    §
                                                  §
                   Plaintiff,                     §                5-19-CV-01437-RBF
                                                  §
vs.                                               §
                                                  §
BE RIOS, LTD.,                                    §
                                                  §
                   Defendant.                     §
                                                  §
                                                  §
                                                  §

                        ORDER APPROVING CONSENT DECREE AND
                       DISMISSAL OF DEFENDANTS WITH PREJUDICE

       THIS CAUSE is before the Court on the Parties’ Amended Joint Stipulation to Approve

Consent Decree and Dismiss Defendants with Prejudice [D.E. # 20]. The Court has carefully

considered the Joint Stipulation and the Consent Decree attached to the Joint Stipulation as

Exhibit “1”, and is otherwise fully advised in this matter.

       Accordingly, it is ORDERED AND ADJUDGED as follows:

      1.       The Joint Stipulation to Approve Consent Decree and Dismiss Defendants with

Prejudice is hereby GRANTED.

      2.       The Court hereby APPROVES the Consent Decree, Defendant, BE RIOS, LTD.,

d/b/a RIOS CRYSTAL MALL is hereby DISMISSED WITH PREJUDICE.

      3.       The Court Retains jurisdiction to enforce the Consent Decree for a period of 12

months from the date of this Order after which the Court’s jurisdiction will terminate.

      4.       Each party to bear their own attorney’s fees and costs except as detailed in the

parties’ Consent Decree.

      5.       All pending motions are hereby denied as moot.



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6.       This case is CLOSED.

DONE AND SIGNED in Chambers, at San Antonio, Texas this _27th_ day of May, 2021




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                                            RICHARD B. FARRER
                                            UNITED STATES DISTRICT JUDGE
                                            WESTERN DISTRICT OF TEXAS,
                                            SAN ANTONIO DIVISION




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